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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA
                                 SOUTHWESTERN DIVISION

United States of America,                           )
                                                    )
                 Plaintiff,                         )                 ORDER
                                                    )
        vs.                                         )
                                                    )
Rick Allen Olheiser,                                )                 Case No. 1:12-cr-017
                                                    )
                 Defendant.                         )

        Donna Mae Weflen (“Weflan”) made her initial appearance in this action on April 4, 2012.

She was released on the condition that she have no contact with her son and co-defendant, Rick

Allen Olheiser (“Olheiser”), except when in the presence of counsel.                       On motion by the

Government, the court issued an order dismissing Weflan’s charges on February 1, 2013.

        Olheiser made his initial appearance in this action on March 30, 2012. He was ordered

detained pending final disposition of his pending charges. On February 13, 2013, he filed a Motion

to Amend Conditions of Detention. He requests that the court strike the condition that he have no

contact Weflan, averring that the circumstances no longer justifies this provision.1

        The court GRANTS Olheiser’s motion (Docket No. 222). Olheiser may have contact with

Weflan insofar as his custodial status allows.

        IT IS SO ORDERED.

        Dated this 7th day of February, 2013.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court



        1
         Olheiser advised the court via letter of his intent to change his plea. (Docket No. 207). The court has
scheduled a change of plea hearing for Olheiser on February 13, 2013, at 11:00 a.m. in Bismarck. (Docket No. 227).
